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                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII


UNITED STATES OF AMERICA, )              CRIM. NO. 06-00079 JMS/KSC
                              )
          Plaintiff,          )          ORDER GRANTING IN PART AND
                              )          DENYING IN PART GOVERNMENT’S
     vs.                      )          MOTION IN LIMINE TO PRECLUDE
                              )          CERTAIN MITIGATING FACTORS
NAEEM J. WILLIAMS,            )          AND TO COMBINE CERTAIN
                              )          MITIGATING FACTORS, DOC. NO.
          Defendant.          )          2683
_____________________________ )

      ORDER GRANTING IN PART AND DENYING IN PART
  GOVERNMENT’S MOTION IN LIMINE TO PRECLUDE CERTAIN
 MITIGATING FACTORS AND TO COMBINE CERTAIN MITIGATING
                 FACTORS, DOC. NO. 2683

                              I. INTRODUCTION

             On May 15, 2014, the government filed a Motion in Limine seeking to

preclude certain mitigating factors and to combine certain mitigating factors

proposed by Defendant. See Doc. No. 2683; see also Doc. No. 2658 (Defendant’s

proposed jury instructions listing 150 proposed mitigating factors). Defendant

filed an Opposition on May 17, 2014, Doc. No. 2695, and the court has already

discussed with the parties several issues raised in the Motion. Based on the
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following, the court GRANTS in part and DENIES in part the government’s

Motion as to the following categories of proposed mitigating factors.1

                                       II. ANALYSIS

A.      The State of Hawaii’s Abolishment of the Death Penalty and the Rarity
        of Death Penalty Verdicts in Federal Cases

               The government argues that Defendant should be precluded from

presenting evidence that the State of Hawaii has abolished the death penalty and

that death penalty verdicts are rarely found in federal cases, as such facts are

irrelevant to mitigation. See Doc. No. 2683, Gov’t Mot. at 6 (objecting to

Defendant’s proposed mitigating factors 117-119). The court agrees.

               In particular, the court joins those courts finding that such factors are

irrelevant “to a reasoned moral response to [the defendant’s] background,

character, and crime,” and is therefore improper mitigation evidence. United

States v. Gabrion, 719 F.3d 511, 523 (6th Cir. 2013) (en banc), cert. denied, 134 S.

Ct. 1934 (U.S. Apr. 28, 2014); see also United States v. Higgs, 353 F.3d 281, 328



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          By separate Order, the court granted the government’ request to preclude Defendant’s
mitigating factors directed to the U.S. Army’s notice of Talia Williams’ abuse. See Doc. No.
2745. The court also does not address the government’s objections to (1) Defendant’s mitigating
factor 108 directed to Defendant’s likelihood of posing a danger to staff or inmates in the future,
as the parties may have reached consensus on this issue, and (2) Defendant’s mitigating factors
directed to mercy, as the parties have stipulated to admission of factor 116 and deletion of factor
149. Finally, the government’s request to combine allegedly cumulative and/or redundant
mitigating factors will be the subject of further discussions between the court and the parties.

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(4th Cir. 2003) (affirming rejection of proposed mitigation factor because “[a]n

assertion that the death penalty is improper in one jurisdiction because it is not

allowed in another is, at bottom, a reflection of the debate surrounding the

propriety of the death penalty, which is a matter of policy for the legislative

branch”). Indeed, to have the jury consider that Hawaii has abolished the death

penalty invites jury nullification of federal law. See United States v. McCluskey,

Crim. No. 1:10-cr-02734 JCH (D.N.M. June 26, 2013), Doc. No. 1060 at 22 (citing

United States v. Gabrion, 648 F.3d 307, 363 (6th Cir. 2011) (C.J. Batchelder,

concurring in part and dissenting part), on reh’g en banc, 719 F.3d 511 (6th Cir.

2013)).

             In opposition, Defendant argues that “the location of the crime in a

non-death penalty state and the infrequency with which such crimes are punished

with a death sentence are ‘circumstances of his crime.”’ Doc. No. 2695, Def.’s

Opp’n at 14. The court disagrees -- Defendant’s offense at issue is child abuse

murder and murder in the perpetration of a pattern and practice of assault and

torture against a child, and general facts about Hawaii’s abolishment of the death

penalty and/or the rarity of death penalty verdicts in federal cases are outside the

scope of this offense.




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             The court therefore GRANTS the government’s Motion to the extent

to seeks to preclude Defendant’s proffered mitigating factors numbered 117-119.

B.      Offers to Plead Guilty and Accept a Life Sentence

             The government argues that Defendant should be precluded from

presenting as mitigating factors that he offered to plead guilty and accept a life

sentence. See Doc. No. 2683, Gov’t Mot. at 6 (objecting to Defendant’s mitigating

factors 120 and 135-136). In support of this proposition, the government relies on

Owens v. Guida, 549 F.3d 399 (6th Cir. 2008), which held that a Tennessee state

court did not violate the petitioner’s rights when it refused to admit as mitigating

evidence the defendant’s acceptance of the government’s offer to plead to a life

sentence, where the offer was conditioned on the co-defendant’s acceptance of the

same offer and the co-defendant refused the offer. Id. at 419-20. Owens explained

that because the offer to plead was not unconditional, the evidence was not relevant

to the defendant’s character trait of “acceptance of responsibility” -- the defendant

“was less interested in accepting responsibility and more interested in avoiding the

electric chair, a motivation that is much less persuasive as a mitigating factor.” Id.

at 420.

             Other courts, however, have taken a less restrictive view. For

example, United States v. Fell, 372 F. Supp. 2d 773 (D. Vt. 2005), permitted the


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defendant to introduce a stipulation that he had offered to plead guilty in exchange

for a sentence of life imprisonment without parole, explaining that this fact was

“relevant to the mitigating factor of acceptance of responsibility.” Id. at 783. Fell

excluded, however, the draft plea agreement and statements made during plea

negotiations as irrelevant, reasoning that “a prosecutor’s statements of personal

belief regarding [aggravating and mitigation] factors should have no bearing on the

jury’s independent evaluation of the evidence.” Id. On a plain error review, the

Second Circuit affirmed the inadmissibility of the plea agreement and the

prosecutor’s statements. United States v. Fell, 531 F.3d 197, 219-20 (2d Cir.

2008); see also Johnson v. United States, 860 F. Supp. 2d 663, 903 (N.D. Iowa

2012) (“Where the offer to plead guilty comes from the defendant, it may or may

not be illuminating of the circumstances of the offense or the defendant’s prior

record, but it does have some bearing on the defendant’s character and, more

specifically, on the defendant’s acceptance of responsibility for the charged

offense.”).

              The court follows these latter cases. That Defendant offered a

conditional guilty plea may show some degree of acceptance of responsibility, and

it is ultimately up to the jury -- not this court -- to determine how such fact should

be weighed in determining Defendant’s sentence. The court therefore DENIES the


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government’s Motion to the extent to seeks to preclude Defendant’s proffered

mitigating factors numbered 120 and 135-136.2

C.      Statutory Aggravating Factors Not Charged in this Case

               The government argues that Defendant should not be permitted to

submit as mitigating factors that his offense conduct or prior criminal history do

not satisfy several statutory aggravating factors not charged in this case. See Doc.

No. 2683, Gov’t Mot. at 7 (objecting to Defendant’s mitigating factors 122-132).3

The court agrees that Defendant’s failure to engage in other aggravating behavior

is not a mitigating factor -- the absence of an aggravating factor simply means that

an aggravating factor does not exist, and its absence, on its own, does not provide

any information as to Defendant’s background, character, record of circumstance

of the offense in this action.

               The court therefore GRANTS the government’s Motion to the extent

it seeks to preclude Defendant from presenting mitigating factors 122-132.




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         The court’s determination that the subject matter of any proffered mitigating factors are
permissible does not preclude arguments as to whether they are redundant and/or cumulative as
written.
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          Although the government initially objected to Defendant’s proposed mitigating factors
31 and 77 directed to Defendant’s lack of intent in killing Talia Williams, at a May 23, 2014
hearing the government agreed that these were proper mitigating factors (although whether these
two proposed factors are cumulative is subject to further discussion).

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D.      Severity of Penalty

              The government argues that Defendant should be precluded from

asserting as mitigating factors that the death penalty is final, and that a punishment

of life imprisonment without the possibility of release is severe. See Doc. No.

2683, Gov’t Mot. at 7 (objecting to factors 113-115). The court agrees -- these

factors have nothing to do with Defendant’s background, character, record of

circumstance of the offense in this action. See United States v. Johnson, 223 F.3d

665, 675 (7th Cir. 2000) (“A mitigating factor is a factor arguing against

sentencing this defendant to death; it is not an argument against the death penalty

in general.”) (citing Penry v. Lynaugh, 492 U.S. 302, 328 (1989); Eddings v.

Oklahoma, 455 U.S. 104, 110 (1982); and Lockett v. Ohio, 438 U.S. 586, 604 n.12

(1978) (plurality opinion)); see also 18 U.S.C. § 3592(a) (reciting mitigating

factors specific to the defendant only).

              The court therefore GRANTS the government’s Motion to the extent

it seeks to preclude Defendant from presenting mitigating factors 113-115.

E.      Courtroom Behavior

              The government argues that Defendant should be precluded from

asserting that his courtroom conduct of being respectful is a mitigation factor. See

Doc. No. 2683, Gov’t Mot. at 10 (objecting to factor 97). The court DENIES the


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government’s request -- this factor is arguably directed to Defendant’s character,

and is therefore admissible.

F.       Delilah Williams as an Equally Culpable Defendant

              Although not tied to any particular mitigating factor, the government

argues that Defendant should not be able to argue that Delilah Williams is an

equally culpable defendant who received a lesser sentence given that the jury found

Defendant guilty of Count 1. See Doc. No. 2683, Gov’t Mot. at 12.

The court rejects this argument -- Delilah Williams pled guilty to the capital

murder of Talia Williams such that Defendant may make this argument to the jury.

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                                  III. CONCLUSION

              Based on the above, the court GRANTS in part and DENIES in part

the government’s Motion in Limine to Preclude Certain Mitigating Factors and to

Combine Certain Mitigating Factors, Doc. No. 2683.

              IT IS SO ORDERED.

              DATED: Honolulu, Hawaii, May 30, 2014.


                                           /s/ J. Michael Seabright
                                          J. Michael Seabright
                                          United States District Judge




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